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EXHIBIT A

 

 

 

 

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AFFIDAVIT

THE STATE.OF TEXAS 3
COUNTY OF WALKER 9

BEFORE ME, the undersigned authority, on this day personally appeared TINA BENEDETTO, who,
known to me to be the person whose name is subscribed to the foregoing instrument and acknowledged to me
that she executed the same for the purposes and consideration therein expressed: n

My name is TINA BENEDET'I‘O, ~I am over twenty-one years of age, of sound mind, capable of
making this affidavit, and personally acquainted with the facts herein stated.

l am employed as Administrative Assistant to the State Clas'sification Committee for the Texas
Department of Criminal Justice Correctional Institutions Division, and the attached is a correct representation of
the time calculations and classification status regarding offender Arthur Wayne Carson, TDCJ# 517349 now
on file within the Classification and Records Office of the TeXas Department of Criminal Justice Correctional
institutions Division.

In witness whereof, I have hereto set my hand this the 29th day of March, 2006.

zr%¢z%/ w¢a%
TINA BENEDETTO,
Administrative Assistant To The
State Classif`ication Committee

 

SWORN TO AND SUBSCRIBED BEFORE ME, by the said TINA BENEDETTO, on this 29th

day of March, 2006, to certify which witnesses my hand and seal of office.

NOT Y PUBLIC IN AND FOR y

 

 

 

      

 

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"~7:,,‘0,§\§3\~"` February 12, 2009

     

  
 

NOTARY W|THOUT BOND

  

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Tcxas Department of Criminal Just\ce

 

Brad Livingston
` Executive Director

March 29, 2006

Attorney Generals Office
Assistant Attorney General
Post Conviction Litigation
P.O. Box 12458

Austin, Texas 7871 l

v RE: Carson, Artilur Wayne ’ TDCJ# 517349
Dear Ms. Christian-Camal:
The files of this Agency have been reviewed concerning offender Arthur Wayne Carson, TDCJ# 517349.

The offender was admitted to custody on 8-14-89, with a sentence begin date of 3-24-89, on a 20-year sentence from
Dallas County. The offender was charged with Attempted Murder with a Deadly Weapon by the 002 District Court
under Cause# F88-84596-Ll. The offender is charged for the offense occurring on 7-7-88, with sentencing on 7-6~
89. The offenses are identified as not eligible for mandatory supervision release by statute and is subject to flat
calculated parole eligibility status only by statute.

On 12-2- 93 this office received a nunc pro tunc from Dallas County granting the subject 6- months and 8- days jail
credit, changing sentence begin date nom 3-24- 89 to l2- 28 88.

Pursuant to Government Code 501.0081, TDCJ must respond to a time credit dispute within 180-days of receipt by
' the Classification and Records Office. On 10-13-05 this office received a time credit dispute resolution form from
the offender concerning time credits. The subject offender’s last time dispute is still pending a Bureau of
Classification and Records Office decision at this time.

The subject offender currently remains in custody without a scheduled mandatory supervision release date, a
12-28-08 maximum expiration date, and parole eligible at the discretion of the Board of Pardons and Paroles.

For certified records on pre-revocation warrant dates, calculations, and/or credits please contact Parole Division
Warrants at 8610 Shoal Creek Blvd., Austin, Texas 7 8757.

Sincerely,

TINA BENEDETTO,

Administrative Assistant

To the State Classification Committee
(936) 437-8748

(936) 730-1752 FAX

TB/kmw
'cc: file

 

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